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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                  :
                                          :               Hon. Brian R. Martinotti, U.S.D.J.
      v.                                  :               Case No. 18-757
                                          :
STEVEN BRADLEY MELL                       :               NOTICE OF ATTORNEY
                                          :               APPEARANCE
__________________________________________:


       Please take notice that Andrea D. Bergman, Esq., Assistant Federal Public Defender,

makes an appearance as counsel of record for Petitioner Steven Bradley Mell.



                                                   Respectfully Submitted,

                                                   /s/ Andrea Bergman

                                                   Andrea Dechenne Bergman
                                                   Assistant Federal Public Defender
